
652 S.E.2d 257 (2007)
Gary R. BERRYHILL and wife Martha J. Berryhill
v.
Haley N. SHELTON and husband Anthony Shelton; Alvin R. Berryhill; and Penny Vaughan and husband Scott Vaughan.
No. 232P07.
Supreme Court of North Carolina.
October 11, 2007.
Hugh Franklin, Marion, for Alvin Berry-hill.
Stephen R. Little, Marion, for Shelton and Vaughan.
M. Alan LeCroy, Morganton, for Gary &amp; Martha Berryhill.

ORDER
Upon consideration of the petition filed on the 21st day of May 2007 by Defendant (Alvin Berryhill) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 11th day of October 2007."
